                   Case 23-10101-LSS             Doc 141       Filed 08/04/23        Page 1 of 8




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:
                                                                     Chapter 7
    PROJECT VERTE INC.,
                                                                     Case No. 23-10101-LSS

                              Debtor.                                Hearing: August 24, 2023 at 9:45 a.m. ET
                                                                     Obj. Deadline August 17, 2023 at 4:00 p.m. ET



                   CHAPTER 7 TRUSTEE’S MOTION FOR AN
        ORDER APPROVING SETTLEMENT AGREEMENT BY AND BETWEEN
      THE CHAPTER 7 TRUSTEE AND ZUCHAER & ZUCHAER CONSULTING LLC

             Alfred T. Giuliano, the Chapter 7 Trustee for the estates of Project Verte Inc. (the

“Debtor”), through his counsel, Fox Rothschild LLP, respectfully requests the entry of an order

approving the Settlement Agreement and Mutual Release (the “Agreement”)1 by and between the

Trustee and Zuchaer & Zuchaer Consulting LLC (“Z&Z LLC”) pursuant to Fed. R. Bankr. P. 9019

(the “Motion”).2 In support of the Motion, the Trustee respectfully represents as follows:

                                                 JURISDICTION

             1.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).

             2.     Venue of this proceeding and this Motion is proper in this district pursuant to 28

U.S.C. §§ 1408 and 1409.

             3.     The predicate for the relief sought herein is Rule 9019 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).




1
    Capitalized terms not defined herein shall have the meaning ascribed to such term in the Agreement.
2
    A copy of the Agreement is attached hereto as Exhibit “A” and incorporated by reference herein.


147281536.3
              Case 23-10101-LSS          Doc 141     Filed 08/04/23     Page 2 of 8




                                        BACKGROUND

        A.     Bankruptcy Procedural Background

        4.     On January 26, 2023 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”).

        5.     On January 27, 2023, the Office of the United States Trustee appointed the Trustee

as Chapter 7 trustee, which appointment remains in effect.

        6.     Prior to the Petition Date, on October 19, 2020, Z&Z LLC commenced a lawsuit

against Debtor in the United States District Court for the Southern District of New York (the

“District Court”), by filing a “Complaint” captioned Zuchaer & Zuchaer Consulting LLC v. Project

Verte, Inc., 20-cv-8703 (the “Lawsuit”). In its Complaint, Z&Z LLC asserted a claim for breach

of a Promissory Note dated August 17, 2018 in the principal amount of $4,000,000 (the

“Promissory Note”) given by Debtor as consideration for the transfer of Z&Z LLC’s membership

interest in Flowerdale LLC (“Flowerdale”) to Debtor pursuant an Assignment of Membership

Interests in Flowerdale, LLC dated August 14, 2018 (the “Flowerdale Assignment”).

        7.     Flowerdale is a single purpose entity and is the fee owner of the land in Dallas,

Texas, commonly known by the approximate addresses 3200 Stag Rd - Tract B and 3450 E.

Ledbetter Dr. - Tract 2, both in Dallas, Texas (collectively, the “Property”).

        8.     Prior to the Petition Date, Debtor answered the Complaint, denying Z&Z LLC’s

claim for breach of the Promissory Note and asserting counterclaims against Z&Z LLC (the

“Answer and Counterclaims”). In its Answer, Debtor alleged that the Flowerdale Assignment,

which served as the consideration for the Promissory Note, was premised on Z&Z LLC’s




                                                 2
147281536.3
                 Case 23-10101-LSS             Doc 141        Filed 08/04/23        Page 3 of 8




materially false representations as to its ownership of the Property and its power and authority to

transfer the Flowerdale interests.

        9.       Z&Z LLC denied the claims set forth Debtor’s Answer and Counterclaims.

        B.       Negotiation of the Agreement Between the Parties

        10.      The Parties have conducted arms-length negotiations to resolve the dispute. From

the inception of the Debtor’s Chapter 7 Case, these negotiations involved numerous discussions

over both factual and legal questions underlying the dispute, which resulted in meaningful progress

towards a resolution.

        11.      The Parties now seek to enter the Agreement to settle, discontinue and end, with

prejudice, all claims and disputes between the Parties concerning the Promissory Note, Flowerdale

Assignment, and the Property. A copy of the Agreement is attached hereto as Exhibit “A” and

incorporated by reference herein.

        C.       Salient Provisions of the Agreement

        12.      A summary of the pertinent terms of the Agreement are as follows:3

                 a.       Effective Date. Except as set forth in Paragraph 4 of the Agreement, the
                          effective date (the “Effective Date”) of this Agreement shall be the first
                          business day (1) after the Bankruptcy Court has entered a final order
                          approving the Agreement pursuant to Rule 9019 of the Federal Rules of
                          bankruptcy Procedure.4

                 b.       Promissory Note and Flowerdale Assignment. Z&Z LLC and Debtor
                          declare that the Promissory Note and Flowerdale Assignment are deemed
                          null and void, void ab initio, and of no legal force or effect. As of the
                          Effective Date, the 100% membership interests in Flowerdale are deemed
                          returned to Z&Z LLC as if it was never transferred.



3
  To the extent there is any inconsistency between the summary of settlement terms herein and the settlement language
contained in the Agreement attached hereto as Exhibit “A”, the terms in the Agreement control.
4
  Occurrence of the Effective Date is also conditioned on the Court’s entry of the Final Order (A) Authorizing the
Trustee to Obtain Post-petition Financing and to grant Super-priority Liens Pursuant to 11 U.S.C. §§ 105(A) and
364(D) and (B) Approving Settlement Agreement by and Among the Chapter 7 Trustee and AJ Group Creditors
Pursuant to Bankruptcy Rule 9019, which occurred on March 28, 2023 [D.I. 97].

                                                         3
147281536.3
              Case 23-10101-LSS      Doc 141      Filed 08/04/23      Page 4 of 8




              c.    Allowance of General Unsecured Claim. The Parties agree that Z&Z LLC
                    shall be entitled to an allowed general unsecured claim in the amount of
                    $50,000.00. Within five (5) business days of the Effective Date, Z&Z LLC
                    shall file a claim that accurately reflects the terms of this Agreement.

              d.    Stipulation of discontinuance with Prejudice. Along with the execution
                    copies of this Agreement, the Parties’ counsel shall deliver executed copies
                    of the Stipulation of Discontinuance with Prejudice attached to the
                    Agreement as Exhibit “A”, which shall dismiss the claim asserted by Z&Z
                    LLC against Debtor, and the remaining counterclaims asserted by Debtor
                    solely as against Z&Z LLC. Promptly after the Effective Date, Z&Z LLC
                    shall file the Stipulation of Discontinuance with Prejudice in the District
                    Court.

              e.    Mutual Releases.

                    (i)    Z&Z LLC’s Release of Chapter 7 Trustee and Debtor. Upon the
                           Effective Date, Z&Z LLC, for itself, and any present and former
                           affiliated and related members, individuals, entities, predecessors,
                           successors, assigns and insurers, and each of their present and
                           former members, general and limited partners, managers, officers,
                           directors, employees, representatives, agents, attorneys, assigns, and
                           their respective executors, trustees, administrators, representatives
                           and insurers does hereby RELEASE, REMISE AND FOREVER
                           DISCHARGE the Trustee, the estate of Debtor, and all of the
                           Trustee’s representatives, agents, attorneys, assigns and their
                           respective executors, trustees, administrators, representatives and
                           insurers and all of Debtor’s shareholders, officers, directors,
                           employees, representatives, agents, attorneys, and assigns (“Debtor
                           Releasees”) of and from any and all causes of action, claims,
                           demands, damages, attorneys’ fees, expenses, fines, penalties,
                           injunctive or equitable relief, injuries, losses, liabilities and/or
                           complaints of whatsoever kind or nature, including without
                           limitation, all claims or joinders for sole liability, contribution,
                           indemnity or otherwise, whether known or not known, suspected or
                           unsuspected, or whether asserted or could have been asserted,
                           arising from, as a result of, or in any way connected with and/or on
                           account of, the Promissory Note, Flowerdale Assignment, the
                           property on the Survey attached to the Flowerdale Assignment, and
                           the events relating to the Lawsuit, other than the obligations set forth
                           in this Agreement (“Z&Z LLC’s Released Claims”).

                    (ii)   Debtor’s Release of Z&Z LLC. The Trustee, on behalf of the estate
                           of Debtor, for itself, and any present and former affiliated and
                           related individuals, predecessors, successors, assigns, and each of
                           their present and former members, shareholders, general and limited


                                              4
147281536.3
               Case 23-10101-LSS         Doc 141      Filed 08/04/23      Page 5 of 8




                               partners, managers, officers, directors, employees, representatives,
                               agents, attorneys, assigns, and their respective executors, trustees,
                               administrators, and representatives does hereby RELEASE,
                               REMISE AND FOREVER DISCHARGE Z&Z LLC, all of Z&Z
                               LLC’s former and present members, officers, directors, insurers,
                               successors by interest, successors by merger, parents, predecessors,
                               subsidiaries, affiliates, managers, and employees, and all of Z&Z
                               LLC’s representatives, agents, attorneys, assigns and their
                               respective executors, trustees, administrators, representatives and
                               insurers (“Z&Z LLC Releasees”) from any and all causes of action,
                               claims, demands, damages, attorneys’ fees, expenses, fines,
                               penalties, injunctive or equitable relief, injuries, losses, liabilities
                               and/or complaints of whatsoever kind or nature, including without
                               limitation specifically all claims or joinders for sole liability,
                               contribution, indemnity or otherwise, whether known or not known,
                               suspected or unsuspected, or whether asserted or could have been
                               asserted arising from, as a result of, or in any way connected with
                               and/or on account, of the Promissory Note, Flowerdale Assignment,
                               the property on the Survey attached to the Flowerdale Assignment,
                               and the events relating to the Lawsuit, other than obligations set
                               forth in this Agreement (“Z&Z LLC’s Released Claims”).

                                      RELIEF REQUESTED

        13.       By and through this Motion, the Trustee seeks entry of an Order authorizing and

approving the Agreement pursuant to Bankruptcy Rule 9019.

                              BASIS FOR RELIEF REQUESTED

        14.       Bankruptcy Rule 9019 provides that “[o]n motion by the [T]rustee and after

notice and a hearing, the court may approve a compromise or settlement. Notice shall be given to

creditors, the United States trustee, the debtor. . . and to any other entity as the court may direct.”

Fed. R. Bankr. P. 9019(a); see also Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996).

        15.       The Trustee is obligated to maximize the value of the estate and make her

decisions in the best interests of all creditors. See Martin, 91 F.3d at 394. Indeed, courts generally

defer to a trustee’s business judgment when there is a legitimate business justification for a

trustee’s decision. See Martin, 91 F.3d at 395.



                                                  5
147281536.3
               Case 23-10101-LSS           Doc 141      Filed 08/04/23     Page 6 of 8




        16.        In determining whether a settlement should be approved under Bankruptcy Rule

9019, the Court must “assess and balance the value of the claim that is being compromised against

the value to the estate of the acceptance of the compromise proposal.” Id. at 393. To this end,

courts should consider four factors: “(1) the probability of success in litigation; (2) the likely

difficulties in collection; (3) the complexity of the litigation involved, and the expense,

inconvenience and delay necessarily attending it; and (4) the paramount interest of the creditors.”

Id. (citation omitted).

        17.        This Court should approve the Agreement because it is supported by sound

business justifications, the terms of the Agreement are more than reasonable, and the four (4)

Martin factors weigh in favor of approval.

        18.        First, for the Trustee to prevail in the Lawsuit, he would have to successfully

prosecute Debtor’s counterclaims for fraud and breach of contract against Z&Z LLC. Although

the Trustee believes the Debtor’s position has merit, proceeding to trial comes with the inherent

risk that the court will not rule in the Trustee’s favor. In light of this risk, the Agreement’s proposal

to resolve the Lawsuit by declaring the Promissory Note and Flowerdale Assignment null ad void

ab initio is in the best interest of the Debtor’s estate.

        19.        Second, even if the Trustee were to prevail in the Lawsuit, monetizing any

resulting interest in the Flowerdale Property could prove challenging given the unclear ownership

structure and the absence of meaningful assets owned by Z&Z LLC. Accordingly, the costs of

litigation and collection efforts could outweigh any recovery.

        20.        Third, defending Z&Z LLC’s claims to conclusion and prosecuting Debtor’s

counterclaims would require, among other things, discovery, testimony, and briefing. In light of

these significant costs and risks associated with litigation, the Trustee submits, in the exercise of



                                                    6
147281536.3
               Case 23-10101-LSS             Doc 141   Filed 08/04/23   Page 7 of 8




his business judgment, that the Agreement proposed herein is reasonable and will maximize the

benefit to the estate with the least cost.

        21.        In other words, the Agreement represents the most realistic and cost-efficient

way of resolving the Lawsuit in a manner that maximizes the recovery for the Debtors’ creditors.

The paramount interests of the creditors therefore favors approval of the Agreement.

                                                NOTICE

        Notice of this Motion will be provided to: (a) the Office of the United States Trustee for

the District of Delaware; (b) counsel for the Debtor; (c) counsel for Z&Z LLC; (d) all parties who

have filed timely proofs of claim; and (e) all parties requesting notice in this proceeding pursuant

to Bankruptcy Rule 2002. The Trustee submits that such notice is sufficient, and that no other or

further notice is necessary or required. The Trustee requests that the Court find that such notice is

adequate and proper.




                            [Remainder of page left intentionally blank]




                                                   7
147281536.3
              Case 23-10101-LSS         Doc 141      Filed 08/04/23    Page 8 of 8




                                         CONCLUSION

        WHEREFORE, the Trustee respectfully requests that this Court enter an Order authorizing

and approving the Agreement pursuant to Bankruptcy Rule 9019 and granting such other and

further relief as the Court deems appropriate.



                                             Respectfully submitted,

                                             FOX ROTHSCHILD LLP

                                             By: /s/ Seth A. Niederman
                                             Seth A. Niederman, Esquire
                                             Delaware Bar No. 4588
                                             919 North Market Street, Suite 300
                                             P.O. Box 2323
                                             Wilmington, DE 19899-2323
                                             Phone (302) 654-7444/Fax (302) 656-8920
                                             sniederman@foxrothschild.com
                                                            -and-
                                             Michael G. Menkowitz, Esquire
                                             Jesse M. Harris, Esquire
                                             2000 Market Street, 20th Floor
                                             Philadelphia, PA 19103-3222
                                             Phone (215) 299-2000/Fax (215) 299-2150
                                             mmenkowitz@foxrothschild.com
                                             jesseharris@foxrothschild.com


Dated: August 4, 2023                        Counsel for Alfred T. Giuliano,
                                             Chapter 7 Trustee for the estate of Project Verte
                                             Inc.




                                                 8
147281536.3
